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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA
                           NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                   )       MDL NO. 07-1873
FORMALDEHYDE PRODUCT                  )
LIABILITY LITIGATION                  )       SECTION “N-4”
                                      )
                                      )       JUDGE ENGELHARDT
                                      )
THIS DOCUMENT IS RELATED TO           )       MAG. JUDGE ROBY
THE ADMINISTRATIVE MASTER             )
COMPLAINT                             )



              MEMORANDUM IN SUPPORT OF MOTION TO WITHDRAW
             NEWLY ADDED DEFENDANT PALM HARBOR HOMES, INC.’S
                      RULE 12(b)(2) MOTION TO DISMISS

MAY IT PLEASE THE COURT:

         Newly Added Defendant Palm Harbor Homes, Inc., moves this Honorable

Court for an Order withdrawing their previously filed Rule 12(b)(6) Motion to

Dismiss on the basis that the Motion to Dismiss was untimely and further

information needs to be developed before such a motion can be heard. At this

time, Palm Harbor Homes, Inc., reserves its right to file a Motion to Dismiss in the

future as facts and evidence may warrant.

                                      Respectfully submitted,



                                      /s/ James K. Carroll
                                      James K. Carroll
                                      One of the Attorneys for Newly Added
                                      Defendant Palm Harbor Homes, Inc.



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                         CERTIFICATE OF SERVICE

       I hereby certify that on June 12, 2008, I electronically filed the foregoing
with the Clerk of the Court by using the CM/ECF system which will send a notice
of electronic filing to all counsel of record who are CM/ECF participants.


                                      /s/ James K. Carroll




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